Filed 10/03/22                            Case 22-22056                             Doc 33



                               UNITED STATES BANKRUPTCY COURT
                               EASTERN DISTRICT OF CALIFORNIA
                                        CIVIL MINUTES
            _____________________________________________________________________
            Case Title: David R. Michal          Case No.: 22-22056 - A - 7
                                                 Docket Control No. DBL-1
                                                 Date: 10/03/2022
                                                 Time: 9:00 AM

            Matter: [7] - Motion/Application For Sanctions [DBL-1] Filed by
            Alleged Debtor David R. Michal (dpas) [7] - Motion/Application for
            Compensation [DBL-1] by the Law Office of Dwiggins & Wilson
            Bankruptcy Law for Patricia Wilson, Debtors Attorney(s) (dpas) [7] -
            Motion/Application to Dismiss Case [DBL-1] Filed by Alleged Debtor
            David R. Michal (dpas)

            Judge: Fredrick E. Clement
            Courtroom Deputy: Janice Busch
            Reporter: Electronic Record
            Department: A
            _____________________________________________________________________
            APPEARANCES for:
            Movant(s):
            Involuntary Debtor's Attorney - Patricia Wilson
            Respondent(s):
            (by phone) Petitioning Creditor's Attorney - Charles L. Hastings
            (by phone) Interested Party – Robert Deutsch
            (by phone) Interested Party – Henry Mangum, Jr.
            _____________________________________________________________________
                                          CIVIL MINUTES


           Motion: Motion to Dismiss Involuntary Petition and for Sanctions and
           Attorneys’ Fees
           Notice: LBR 9014-1(f)(1); written opposition required
           Disposition: Denied; debtor to file answer not later than October 24,
           2022
           Order: Civil minute order

           David R. Michal (“Michal”) moves to dismiss an involuntary chapter 7
           petition filed against him by Sarah Halevy; David H. Walker,
           individually and as trustee of the Sarah H. Walker T[rust]; and
           Marjorie B. Walker (collectively “the petitioning creditors”). Mot.
           to Dismiss, ECF No. 7. Michal also seeks sanctions, punitive damages,
           and attorneys’ fees in an unspecified amount. Id. The petitioning
           creditors oppose the motion. Oppos., ECF No. 18.
Filed 10/03/22                            Case 22-22056                             Doc 33



           FACTS

           On August 18, 2022, the petitioning creditors filed an involuntary
           chapter 7 petition against Michel. Invol. Petition, ECF No. 1.
           Counsel for the petitioning creditors is Charles L. Hastings.

           The petitioning creditors properly used Official Form 105 to present
           their case against the targeted debtor. As is the case in a forms
           driven practice, many of the allegations are boilerplate. Among the
           preprinted allegations alleged are that: (1) “Each petitioner is
           eligible to file this petition under 11 U.S.C. § 303(b),” id. at § 11;
           (2) The debtor may be the subject of an involuntary case under 11
           U.S.C. § 303(a),” id.; (3) “The debtor is generally not paying such
           debtor’s debts as they become due, unless they are the subject of a
           bona fide dispute as to liability or amount,” id.; (4) “Has there been
           a transfer of any claim against the debtor by or to any petitioner?
           Yes. Attach all documents that evidence the transfer and any
           statements required under Bankruptcy Rule 1003(a),” id at § 12. The
           petition purports to have been signed by three petitioning creditors:
           (1) “Sarah Halevy, Assignment of Judgment $4,777,759.80”; (2) David H.
           Walker, individually and as trustee of the Sarah H. Walker T[rust]
           Assignment of Judgment $4,777,759.80”; and (3) Marjorie B. Walker,
           individually, Assignment of Judgment $4,777,759.80.” Id.

           Appended to the Involuntary Petition is a document entitled,
           “Statement Required Under Bankruptcy Rule 1003(a). That statement
           provided:

                   The Petitioning Creditors, who’s signatures are below,
                   hereby state that they each received an assignment of a
                   judgment against the debtor, David R. Michal. The
                   assignment was not for the purpose of commencing this
                   involuntary case against the debtor. The consideration of
                   the transfer was in settlement of a claim held by each of
                   the undersigned against the previous holder of the
                   judgment.

           Invol. Petition, ECF No. 1.

           None of the assignment documents were appended to the involuntary
           petition or filed with the Clerk of the Court. Fed. R. Bankr. P
           1003(a).

           The petitioning creditors served the summons and involuntary petition
           on Michal thereafter. Certificate of Service, ECF No. 3.

           PROCEDURE

           This motion followed. Michal filed a “motion to dismiss the
           involuntary petition against him and sought attorneys’ fees and
           sanctions against the petitioning creditors and their attorney.
           Motion to Dismiss, ECF No. 7. Michal is represented by the firm of
Filed 10/03/22                          Case 22-22056                               Doc 33



           Dwiggins & Wilson. Michal argues that he is paying his debts as they
           come due, except for those subject to bona fide dispute as to
           liability or amount. Though styled as a motion to dismiss, presumably
           under Rule 12(b)(6), incorporated by Fed. R. Bankr. P. 7012, it is
           supported by the declaration of Michal, his counsel (Patricia Wilson),
           and a credit report. Michal advances two arguments that: (1) he
           doesn’t owe the petitioning creditors any money, Decl. of Michal ¶ 2,
           ECF No. 22; and (2) his just, undisputed bills are paid as they come
           due. Mot. to Dismiss 2:21-3:15, ECF No. 7. 11 U.S.C. § 303(h). The
           petitioning creditors oppose the motion, offering evidence of their
           own and objecting to the evidence offered by Michal.

           REPLY

           On September 26, 2022, Michal filed objections to the evidence
           proffered by the petitioning creditors as hearsay, and further
           argument that Michal was not provided the opportunity to pay the debt
           owed to the petitioning creditors. See ECF No. 29.

           JURISDICTION

           This court has jurisdiction. 28 U.S.C. § 1334(a)-(b); see also
           General Order No. 182 of the Eastern District of California. This is
           a core proceeding. 28 U.S.C. § 157(b)(2)(A); In re QDOS, Inc., 607
           B.R. 338, 342 (9th Cir. BAP 2019).

           LAW

           Involuntary Petitions

           Bankruptcy Code § 303 authorizes creditors to file a Chapter 7
           bankruptcy on behalf of an individual who is not paying his or her
           undisputed debts. 11 U.S.C. § 303. Such a bankruptcy is commenced by
           filing an involuntary petition; after it is filed it must be served on
           the debtor. Fed. R. Bankr. P. 1010(a). As a rule, the respondent
           debtor may file an answer, 11 U.S.C. § 303(h); Fed. R. Bankr. P.
           1011(a), or may challenge the sufficiency of the petition by Rule 12
           motion. Fed. R. Bankr. P. 1011(b). If the debtor fails to contest
           the petition, the court shall order relief against the debtor. 11
           U.S.C. § 303(h). If the debtor contests the petition by Rule 12
           motion, no answer is required until the motion is resolved. Fed. R.
           Bankr. P. 1011(c); QDOS, Inc., 607 B.R. at 345. If an answer is
           filed, the debtor must file the list described in Rule 1003(b), other
           creditors may join the petition, and discovery rights attach. Id. at
           346-347. In such instances, resolution of evidentiary issues occurs
           by summary judgment or trial. Cunningham v. Rothery (In re Rothery),
           143 F.3d 546, 548-549 (9th Cir. 1998) (summary judgment); QDOS, Inc.,
           607 B.R. at 344-345.

           At trial, the petitioning creditors bear the burden of proof.
           Rothery, 143 F.3d at 548; QDOS, Inc., 607 B.R. at 343. Those
           creditors must prove: (1) petitioning creditor eligibility, Fed. R.
Filed 10/03/22                             Case 22-22056                                   Doc 33



           Bankr. 1003(a) (applicable to assignees only);1 (2) numerosity: at
           least one petitioning creditor if the debtor has fewer than 12
           creditors or at least three petitioning creditors if the debtor has 12
           or more creditors, 11 U.S.C. § 303(b); In re Kidwell, 158 B.R. 203
           (Bankr. E.D. Cal. 1993) (Klein, J.), cited by QDOS, Inc., 607 B.R. at
           347;2 (3) the petitioning creditors’ claims are not contingent and not
           the subject of a bona fide dispute; (4) the petitioning creditors’
           claims aggregate is not less than $18,600, 11 U.S.C. § 303(b); and (5)
           the debtor is generally not paying undisputed debts as “they become
           due.” 11 U.S.C. § 303(b), (h); In re Vortex Fishing Systems, Inc., 277
           F.3d 1057, 1064 (9th Cir. 2002); Morabito v. JH, Inc. (In re
           Morabito), 2016 WL 3267406 * 8-9 (9th Cir. BAP 2016).

           Rule 12(b)(6)

           Under Federal Rule of Civil Procedure 12(b)(6), a party may move to
           dismiss a complaint for “failure to state a claim upon which relief
           can be granted.” Fed. R. Civ. P. 12(b)(6), incorporated by Fed. R.
           Bankr. P. 7012(b). Failure to state a claim may exist as a matter of
           law or as a matter of fact. Johnson v. Riverside Healthcare Sys., LP,
           534 F.3d 1116, 1121–22 (9th Cir. 2008) (“A Rule 12(b)(6) dismissal may
           be based on either a lack of a cognizable legal theory or the absence
           of sufficient facts alleged under a cognizable legal theory”); accord
           Navarro v. Block, 250 F.3d 729, 732 (9th Cir. 2001). In considering
           the sufficiency of the complaint, the court may consider the factual
           allegations in the complaint itself and some limited materials without
           converting the motion to dismiss into a motion for summary judgment
           under Rule 56. Such materials include (1) documents attached to the
           complaint as exhibits, (2) documents incorporated by reference in the
           complaint, and (3) matters properly subject to judicial notice.
           United States v. Ritchie, 342 F.3d 903, 908 (9th Cir. 2003); accord
           Swartz v. KPMG LLP, 476 F.3d 756, 763 (9th Cir. 2007) (per curium)
           (citing Jacobson v. Schwarzenegger, 357 F. Supp. 2d 1198, 1204 (C.D.
           Cal. 2004)). A document may be incorporated by reference, moreover,
           if the complaint makes extensive reference to the document or relies
           on the document as the basis of a claim. Ritchie, 342 F.3d at 908
           (citation omitted).

           “To survive a motion to dismiss, a complaint must contain sufficient
           factual matter, accepted as true, to ‘state a claim to relief that is

           1 Petitioning creditors have not fully complied with Federal Rule of
           Bankruptcy Procedure 1003(a), i.e., attachment of specified assignment
           documents.
           2 Here, it is unclear whether Michal’s has at least 12 creditors.  If so, at
           least 3 creditors must join the petition. 11 U.S.C. § 303(b). Since the
           petitioners appear to hold but a single, indivisible judgment, In re Mid-
           America Industrial, Inc., 236 B.R. 640, 645 (Bankr. N.D. Il. 1999) (joint
           creditors counted as but a single claim under 11 U.S.C. § 303(b); see also In
           re Richard A. Turner Co., Inc., 209 B.R. 177, 17 (Bankr. D. Mass. 1997), it
           appears that this has but one single petitioning creditor, not three
           creditors. If Michal has at least twelve creditors, it appears that there
           are an insufficient number of petitioning creditors.
Filed 10/03/22                          Case 22-22056                               Doc 33



           plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)
           (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 556, 570 (2007)).

           After Iqbal and Twombly, courts employ a three-step analysis in
           deciding Rule 12(b)(6) motions. At the outset, the court takes notice
           of the elements of the claim to be stated. Eclectic Properties East,
           LLC v. Marcus & Millichap Co., 751 F.3d 990, 997 (9th Cir. 2014).
           Next, the court discards conclusions. Ashcroft v. Iqbal, 556 U.S. 662,
           679 (2009); United States ex rel. Harper v. Muskingum Watershed
           Conservancy District, 842 F.3d 430, 438 (6th Cir. 2016) (the complaint
           failed to include “facts that show how” the defendant would have known
           alleged facts). Finally, assuming the truth of the remaining well-
           pleaded facts, and drawing all reasonable inferences therefrom, the
           court determines whether the allegations in the complaint “plausibly
           give rise to an entitlement to relief.” Iqbal, 556 U.S. at 679;
           Sanchez v. United States Dept. of Energy, 870 F.3d 1185, 1199 (10th
           Cir. 2017). See generally, Wagstaff Practice Guide: Federal Civil
           Procedure Before Trial, Attacking the Pleadings, Motions to Dismiss §
           23.75-23.77 (Matthew Bender & Company, Inc. 2019).

           Plausibility means that the plaintiff's entitlement to relief is more
           than possible. Twombly, 550 U.S. at 570 (the facts plead “must cross
           the line from conceivable to plausible”); Almanza v. United Airlines,
           Inc., 851 F.3d 1060, 1074 (11 Cir. 2017). Allegations that are “merely
           consistent” with liability are insufficient. Iqbal, 556 U.S. at 662;
           McCauley v. City of Chicago, 671 F.3d 611, 616 (7th Cir. 2011).
           If the facts give rise to two competing inferences, one of which
           supports liability and the other of which does not, the plaintiff will
           be deemed to have stated a plausible claim within the meaning of Iqbal
           and Twombly. Houck v. Substitute Tr. Servs., Inc., 791 F.3d 473, 484
           (4th Cir. 2015); 16630 Southfield Ltd. P'hsip v. Flagstar Bank,
           F.S.B., 727 F.3d 502, 505 (6th Cir. 2013); see also, Wagstaff, Motion
           to Dismiss at § 23.95. But if one of the competing inferences is
           sufficiently strong as to constitute an “obvious alternative
           explanation,” that inference defeats a finding of plausibility, and
           the complaint should be dismissed. Marcus & Millichap Co., 751 F.3d at
           996 (“Plaintiff's complaint may be dismissed only when defendant's
           plausible alternative explanation is so convincing that the
           plaintiff's explanation is implausible.”); New Jersey Carpenters
           Health Fund v. Royal Bank of Scotland Group, PLC, 709 F.3d 109, 121
           (2nd Cir. 2013).

           DISCUSSSION

           Notwithstanding denominating the matter as a “motion to dismiss,”
           Michal’s resort to extrinsic evidence, suggests treatment by summary
           judgment. Fed. R. Bankr. P. 7056; Cunningham v. Rothery (In re
           Rothery), 143 F.3d 546, 548-549 (9th Cir. 1998) (involuntary
           petition).
Filed 10/03/22                             Case 22-22056                                   Doc 33



           Summary Judgment

           Summary judgment is not appropriate in this case. Summary judgment is
           a discretionary remedy. Fernandez-Montes v. Allied Pilots Ass'n., 987
           F.2d 278, 283 (5th Cir. 1993); Alexander v. Oklahoma, 382 F.3d 1206,
           1213-1214 (10th Cir. 2004); In re Mortg. Electronic Registration
           Systems, Inc., 754 F.3d 772, 781 (9th Cir. 2014). Several factors
           weigh against such treatment. The most frequent reason to deny
           summary judgment is prematurity. Texas Partners v. Conrock Co., 685
           F.2d 1116, 1121 (9th Cir. 1982). No answer has been filed; the case
           is just more than one month old. They issue for which Michal seeks
           summary judgment, i.e., whether he is paying his bills as they come
           due, is only adjudicated if and when an answer has been filed.
           Moreover, it is factually complex, e.g., objectively considered and
           based on the totality of the circumstances the debtor is not paying
           his bills as they come due. In re Vortex Fishing Systems, Inc., 277
           F.3d 1057, 1072 (9th Cir. 2002); Morabito v. JH, Inc. (In re
           Morabito), 2016 WL 3267406 * 8-9 (9th Cir. BAP 2016). Once an answer
           is filed, discovery rights attach. In re QDOS, Inc., 607 B.R. 338,
           342 (9th Cir. BAP 2019). Unless and until an answer is filed and, if
           requested by the petitioning creditors, discovery has been completed,
           the matter is premature.3

           Even if the court were to convert the motion to a summary judgment it
           would deny the motion because genuine disputes of material facts exit.
           Fed. R. Civ. P. 56(a), incorporated by Fed. R. Bankr. P. 7056. Those
           disputed facts are: (1) whether Michal owes the petitioning creditors
           money, Compare Decl. of Michal ¶ 2, ECF No. 11 (never “incurred a debt
           to them”) with Judgment, Marshal Melton v. BHB of Georgia, LLC, No.
           188809 (Shasta County Superior Court 2017) (judgment for $3.4
           million); and (2) whether objectively considered Michal is paying his
           undisputed unsecured debts. Compare Decl. of Wilson ¶ 4, ECF No. 9
           (hearsay that bill “paid as agreed”) with Invol. Pet., Part 3, Items
           11, 13 (“not paying debtor’s debts as they come due”) and unpaid
           judgment $4.777 million). At best, disputes exist.

           Rule 12(b)(6)

           Falling back to Rule 12(b)(6), Michal’s motion will be denied. Under
           the rubric of a Rule 12(b)(6) motion, i.e., consideration of the
           factual allegations of involuntary petition, and not extrinsic
           evidence, the petitioning creditors have plead a plausible claim for
           relief under § 303. That is true for two reasons. First, a fully and
           properly completed Involuntary Petition, Official Form 105, states a
           prima facie case for § 303 relief. In re Gutierrez, 2020 WL 3720211 *
           3 (Bankr. S.D. Miss. 2020). And that is the case here. Second, the
           elements of a prima facie case have been plead.4 Summarized, the

           3 Moreover, the motion does not comply with LBR 7056-1(a): (1) 42 days notice
           required; and (2) supported by separate statement of undisputed facts.
           4 Any defect with respect to the number of petitioning creditors does not

           defeat the petition at this time. Lack of numerosity is an affirmative
Filed 10/03/22                             Case 22-22056                                   Doc 33



           elements are: petitioning creditor eligibility;5 numerosity; claims are
           not contingent and not the subject of a bona fide dispute; claims
           aggregate is not less than $18,600; and the debtor is generally not
           paying undisputed debts as “they become due.” The allegations of the
           Involuntary Petition, albeit boilerplate, state a plausible claim
           against Michal. Invol. Petition, Part 3, Items 11-13, ECF No. 1.




           defense and need not be plead. In re QDOS, Inc., 607 B.R. 338, 346-47 (9th
           Cir. 2019).
           5 The failure to file documents supporting the assignment, Fed. R. Bankr. P.

           1003(a) is not a basis to grant the motion. In re Hujazi, 2017 WL 3007084 *
           8 (9th Cir. BAP 2017). In the event Michal contends that the assignment was
           improperly made for the purposes of filing an involuntary petition, in
           contravention of Rule 1003(a), this is a matter for resolution by evidentiary
           hearing.
